
Frazier, J.
The plaintiff in error was indicted and tried for incest at the November (1886) term of the court of common pleas. He was convicted, and his counsel moved in arrest of judgment and for a new trial,-both of which were overruled. Numerous exceptions were taken on the trial of the cause in the court *130below, and we are asked to review the alleged errors of the lower court.
A petition in error is filed, to which is attached what purports to be a transcript of the record in the case, but which is in fact simply a copy of journal entries, a copy*of the charge of the court, and the original bill of exceptions.
Section 7356, of the Revised Statutes, amended in 1883 and 1885 (80 Ohio L., 170, and 82 Ohio L., 39), provides for the reviewing of a judgment or final order of a court inferior to this court. Section 7357, of Rev. Stats., amended (80 Ohio L., 56), provides how and by whom “ a complete certified transcript of the record,” shall be made; sec. 7358, of Rev. Stats., amended (80 Ohio L., 46), provides that, “ proceedings to review any such judgment shall be by petition, in error, to which shall be attached such transcript, and also any original papers received by the clerk, except that in cases 'of felony it shall not be necessary to include in the transcript of the record any bill of exceptions; but the original bill of exceptions may be attached in lieu of the transcript of the record thereof.”
In Van Buskirk v. Newark, 26 Ohio St., 37, leave to file a petition in error was refused by the supreme court, for the reason that no transcript of the complete record accompanied the application, the court holding that section 117, of the code of civil procedure, amended (67 Ohio L., 114), did not apply to that class of cases. Following Stanley v. State, 23 Ohio St., 581; and Farris v. State, 1 Ohio St., 188. In Jennings v. Mendenhall, 3 Ohio St., 490, the transcript filed with the petition in error was a copy of the journal entries merely, and the court held that this was not sufficient under section 517, of the code, which provides for a transcript of the complete record, and the application was refused.
We have before us no certified transcript of the complete record in this case, as provided for by statute, and while it was not suggested to us in argument, it is a jurisdictional fact which the court ought to consider. 30 Ohio St., 23.
We have no jurisdiction in this case to review the judgment of the lower court, unless the case is presented in this court in the manner prescribed by the statute, to-wit: by a petition in *131in error, to which is attached a certified transcript of the complete record in the case.
Tuttle &amp; Tuttle, for plaintiff in error.
Homer Harper, for the State.
The petition in error is therefore ordered to be stricken from the docket of this court.
